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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

EAGLE VIEW TECHNOLOGIES, INC. and )
PICTOMETRY INTERNATIONAL CORP., )
                                  )
               Plaintiffs,        )
                                  )
        v.                        )                   C.A. No. 21-1852 (RGA)
                                  )
ROOFR, INC.,                      )
                                  )
               Defendant.         )

        ROOFR’S UNOPPOSED MOTION FOR EXTENSION OF PAGE LIMITS

       Defendant Roofr, Inc. respectfully moves for a five-page extension of the page limits for

opening and answering briefs related to its anticipated motion to dismiss Plaintiffs Pictometry

International Corp. and Eagle View Technologies, Inc.’s Amended Complaint (D.I. 12). The

grounds for Roofr’s motion are as follows:

       1.      The initial Complaint in this action was filed on December 29, 2021. D.I. 1. It

contained 19 pages of allegations in support of claims for the infringement of two patents,

U.S. Patent Nos. 9,183,538 and 10,648,800. Id.

       2.      On March 11, 2022, Roofr moved to dismiss the initial Complaint on the grounds

that the ’538 and ’800 patents are directed to abstract ideas. D.I. 8. Roofr filed a 20-page opening

brief in support of its motion containing an analysis of both patents under the two-step framework

set forth in Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208 (2014). D.I. 9.

       3.      In lieu of opposing Roofr’s motion, Plaintiffs responded by amending their

complaint to add 12 pages of additional factual allegations. D.I. 12. The amended complaint also

contains a claim for infringement of a third patent, U.S. Patent No. 8,170,840. Id.
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        4.      Roofr intends to file a motion to dismiss Plaintiffs’ Amended Complaint on May 6,

2022 (see D.I. 16) and respectfully requests five additional pages for its opening brief in support of

its motion. Roofr submits that a modest extension of the page limit is warranted to properly

address Plaintiffs’ new factual allegations and the additional patent in a way that will be most

helpful to the Court.

        4.      Pursuant to D. Del. LR 7.1.1, the parties have conferred and counsel for Plaintiffs

stated that they do not oppose Roofr’s request, as long as Plaintiffs receive five additional pages

for their opposition brief.

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May 2, 2022




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

EAGLE VIEW TECHNOLOGIES, INC. and )
PICTOMETRY INTERNATIONAL CORP., )
                                  )
               Plaintiffs,        )
                                  )
        v.                        )                   C.A. No. 21-1852 (RGA)
                                  )
ROOFR, INC.,                      )
                                  )
               Defendant.         )

                                     [PROPOSED] ORDER

          Having considered Defendant Roofr, Inc.’s Unopposed Motion for Extension of Page

Limits,

          IT IS HEREBY ORDERED that Roofr’s motion is GRANTED. Roofr may file an opening

brief in support of its anticipated motion to dismiss of no more than 25 pages (or 6,250 words), and

Plaintiffs may file an answering brief in opposition to Roofr’s motion of the same length.



Date: ______________________                         ____________________________________
                                                       UNITED STATES DISTRICT JUDGE
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

May 2, 2022, upon the following in the manner indicated:

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